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                    Exhibit 12
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                                                                            888 16th Street, N.W.
                                                                            Suite 300
                                                                            Washington, DC 20006
                                                                            Melinda Coolidge
 March 7, 2024                                                              US Managing Partner
                                                                            E: mcoolidge@hausfeld.com
                                                                            T: 202.540.7144
 CONFIDENTIAL
 VIA ELECTRONIC MAIL


 Gabriel J. Lazarus, Esq.                                  Logan Breed, Esq.
 Cleary Gottlieb Steen & Hamilton LLP                      Hogan Lovells LLP
 2112 Pennsylvania Avenue, NW                              555 13th Street, NW
 Washington, DC 20037                                      Washington, DC 20004
 glazarus@cgsh.com                                         logan.breed@hoganlovells.com



 Re:     U.S. v. ASSA ABLOY AB, et al., Case No. 1:22-cv-02791-ACR

Dear Gabriel and Logan,

As the Monitoring Trustee in the above-captioned action, I write to ask ASSA ABLOY AB (“ASSA
ABLOY”) to produce certain documents and information. As always, the Monitoring Trustee is bound by
the Protective Order and will treat any documents and information produced by ASSA ABLOY as
“Confidential Information” pursuant to the “Engagement Agreement for Services of Melinda R. Coolidge
As Monitoring Trustee” between the Monitoring Trustee and ASSA ABLOY, which was adopted pursuant
to Section X.D of the Final Judgment.

The Monitoring Trustee Team’s specific requests are enclosed with this letter, and we ask ASSA ABLOY to
respond to these requests by the specific dates provided below.

Please let me know if you have any questions about the requests or if you identify any potential hardships
associated with formulating ASSA ABLOY’s responses (including concerns regarding potential claims of
privilege or the burdens of compliance).

Very truly yours,

/s/ Melinda R. Coolidge

Melinda R. Coolidge




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                      DOCUMENT REQUESTS DIRECTED TO ASSA ABLOY


Document Request AA_DR_ 06 (Recurring)

On a monthly or quarterly basis (based on ASSA ABLOY’s reporting and meeting frequency), please
provide documentation included in ASSA ABLOY’s standard business reviews and management reporting
packages relating to the smart lock business 1 in the US, including but not limited to:

    1) Monthly and quarterly business reviews, sales and marketing reviews, business strategies, business
       plans, analyses of major customers, product plans, business strategies, or other related management
       reporting and presentations;
    2) Monthly, quarterly, and annual forecasts, budgets, tracking of actuals versus forecast, and metrics
       used to measure operating results and/or performance. This category includes any forecasts or
       tracking on sales revenue, sales quantities, costs (disaggregated into as many components as
       available), and/or profit margins; and
    3) Board kits or any other related reports/materials presented to the Board of Directors.

If any of the above categories exist in a form that is not limited to the US, please notify the Monitoring
Trustee for further discussion.

Requested Due Date: 5pm ET on Friday, March 22, 2024 [for all business reviews and management
reporting packages during January 2022 – February 2024]; and monthly or quarterly thereafter (based on
ASSA ABLOY’s reporting/meeting frequency).

Document Request AA_DR_ 07

Please provide the Hong Kong and Korea Foreign Acquisition Agreements and all documents referred to,
attached, or related to the Hong Kong and Korea Foreign Acquisition Agreements.

Requested Due Date: 5 pm ET on Friday, March 22, 2024

Document Request AA_DR_ 08

Please provide the Vietnam Asset Transfer Agreement 2 and all documents referred to, attached, or related
to the Vietnam Asset Transfer Agreement.

Requested Due Date: 5 pm ET on Friday, March 22, 2024



1
  The “Smart lock business” refers to ASSA ABLOY’s residential, multi-family, and commercial smart
lock businesses in the U.S.
2
  The “Asset Transfer Agreement” is defined in the Capital Contribution Transfer Agreement executed on
October 19, 2023 as “the asset transfer agreement dated on or about the date hereof between the Company
and ASSA ABLOY Smart Technology Vietnam Co., Ltd, a company established under the laws of
Vietnam and wholly-owned by the Seller.”
                                                      2
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Document Request AA_DR_ 09

Please provide the Contract of Liquidation of Assets and Contract on Liquidation of Inventory entered
between ASSA ABLOY and ASSA ABLOY Smart Product Vietnam Co., Ltd. (AAVN). 3

Requested Due Date: 5 pm ET on Friday, March 22, 2024

Document Request AA_DR_ 10

With regard to the Vietnam facility located at Lot A10, Ba Thien II IP, Thien Ke, Binh Xuyen, Vinh Phuc
Vietnam, please provide the following resolutions passed by ASSA ABLOY Asia Holding AB, a wholly
owned subsidiary of ASSA ABLOY and the then-direct shareholder of the Vietnam entity, effective
November 23, 2023:
   1) authorizing the transfer of the equity in the Vietnam entity to Master Lock Company LLC
       (“MLC”), a wholly-owned subsidiary of Fortune Brands;
   2) giving MLC the right to appoint its authorized representative as Chairman of the Vietnam entity;
       and
   3) amending the Charter of the Vietnam entity to reflect MLC as the owner of the Vietnam entity, with
       the right to dismiss and replace the Legal Representative of the Vietnam entity.

Requested Due Date: 5 pm ET on Friday, March 22, 2024

Document Request AA_DR_ 11

Please provide the amended Charter of the Vietnam entity reflecting Master Lock Company LLC (MLC) as
the owner of the Vietnam entity, with the right to dismiss and replace the Legal Representative of the
Vietnam entity.

Requested Due Date: 5 pm ET on Friday, March 22, 2024

Document Request AA_DR_ 12

Please provide ASSA ABLOY and Fortune Brands’ registration of the change of ownership of the Vietnam
entity with the Department of Planning and Investment of Vinh Phuc (“DPI”) dated December 22, 2023
and the “Letter of Confirmation” received from the Vinh Phuc Business Registration Division granting
“adjustments to the enterprise registration information.” 4

3
  Per Gabriel Lazarus on December 28, 2023, “[b]etween July 13 and August 31, 2023, ASSA ABLOY
moved out of the facility occupied by AAVN, relocating its inventory and equipment (and entered into a
Contract of Liquidation of Assets and a Contract on Liquidation of Inventory).”
4
  On February 7, 2024, Gabriel Lazarus provided a document named “Registration of change of ownership
submitted to Vietnamese authority (updated)” dated November 27, 2023 which appears to be a
“notification” by AAVN to the DPI requesting the DPI to grant a “Letter of Confirmation of adjustments to
enterprise registration information reflecting MLC as the new owner of AAVN.”
                                                    3
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Requested Due Date: 5pm ET on Friday, March 22, 2024

Document Request AA_DR_ 13

Please provide ASSA ABLOY and Fortune Brands’ applications for the following filings, including the
date that each filing application was submitted to the Vietnamese regulatory authority:

   1) M&A Approval
   2) Enterprise registration certificate (“ERC”)

Requested Due Date: 5 pm ET on Friday, March 22, 2024


Document Request AA_DR_14

Please provide documentation to evidence formal approval of the amended Enterprise Registration
Certificate (“ERC”), once received from the Vietnamese government.

Requested Due Date: Within 3 business days of receipt of approval from the Vietnamese government.

Document Request AA_DR_15.

Please provide documentation to evidence the release of the US $23,500,000 purchase price (paid by an
affiliate of Fortune Brands in consideration for the transfer of ownership of the shares of the Vietnam
Entity) from the escrow account at JP Morgan Chase Bank, N.A. to ASSA ABLOY’s designated bank
account upon issuance of the amended Enterprise Registration Certificate (“ERC”). Please also provide an
explanation and supporting documentation relating to all true-ups and post-closing adjustments.

Requested Due Date: Within 3 business days of the release of the purchase price from the escrow account
at JP Morgan Chase Bank to ASSA ABLOY.




                                                    4
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                 INTERROGATORY REQUESTS DIRECTED TO ASSA ABLOY


Interrogatory Request AA_IR_06

Please provide the Monitoring Trustee regular and timely status updates relating to the approval of the
Enterprise registration certificate (“ERC”) from the Vietnamese government including when the
US$23,500,000 purchase price has been released from the escrow account at JP Morgan Chase Bank, N.A
to ASSA ABLOY’s designated bank account.

Requested Due Date: Within 1 business days of receipt of approval from the Vietnamese government.




                                                   5
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                          MEETING REQUEST DIRECTED TO ASSA ABLOY

Meeting Request

      •   Meeting with Cassandra Song, Finance Director Asia Smart Residential – Responsible for
          accounting for and segregating profits generated from the Smart Lock Foreign Divestiture Assets
          for the benefit of Fortune Brands “[f]rom June 20, 2023 until the Transfer of Smart Lock Foreign
          Divestiture Assets on December 22, 2023.” 5




5
    See ASSA ABLOY’s “compliance summary” submitted by Gabriel Lazarus on January 26, 2024.
                                                      6
